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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


UNITED STATES OF AMERICA


v.                                                 Case No: 8: 06-cr-326-T-30TGW

RAFAEL ANGEL RONDON
EMEREGILDO ROMAN

      Defendant(s).
____________________________________/


                                         ORDER

       This cause comes before the Court on its own motion. Upon examination of the file

in the above-styled action, the undersigned has determined that there is cause for recusal.

Accordingly, the undersigned recuses himself from all further participation in this case. The

Clerk of the Court is instructed to reassign this case to another District Judge under the blind

filing system established pursuant to the rules of this Court.

       DONE and ORDERED in Tampa, Florida on January 3, 2007.




Copies furnished to:
Counsel/Parties of Record
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